Case 8:18-mc-00057-MSS-AAS Document 50 Filed 02/05/19 Page 1 of 7 PageID 2257



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 ANDREW MACKMIN, et al.,

       Plaintiffs,
 v.
                                                       Case No.: 8:18-mc-57-35AAS
 VISA, INC., et al.,
       Defendants.
 __________________________________/

 FIDELITY NATIONAL SERVICES,
 et al.,

       Third-Party Defendants.
 __________________________________/

                                       ORDER

       Andrew Mackmin, Mary Stoumbos, and National ATM Council, Inc.

 (collectively, “Plaintiffs”) move to transfer their motions to compel subpoenaed data

 from third-party defendants Fidelity National Information Service, Inc. (“FNIS”) and

 Armed Forces Financial Network (“AFFN”) (collectively, “Third-Party Defendants”)

 to Judge Richard J. Leon, United States District Judge for the District of Columbia,

 under Federal Rule of Civil Procedure 45(f).       (Doc. 42).   Plaintiffs’ motion is

 GRANTED.

 I.    BACKGROUND

       Plaintiffs seek to compel subpoenaed data from Third-Party Defendants and

 Fidelity Integrated Financial Solutions (“FIFS”). (Doc. 1). Third-Party Defendants

 and FIFS opposed the motion (Doc. 9), and Plaintiffs replied to their opposition (Doc.
                                           1
Case 8:18-mc-00057-MSS-AAS Document 50 Filed 02/05/19 Page 2 of 7 PageID 2258



 17). After a hearing on Plaintiffs’ motion to compel, the court issued an order taking

 the motion to compel as to AFFN under advisement. (Docs. 29, p. 1). The court denied

 Plaintiffs’ motion as to FNIS and FIFS without prejudice, due to lack of jurisdiction

 over the subpoenas. (Id. at pp. 4–5). Plaintiffs reissued their subpoena on FNIS and

 required compliance in this district.      Thereafter, Plaintiffs moved to compel

 compliance with the reissued FNIS subpoena. (Doc. 41). FNIS responded to renewed

 motion to compel. (Doc. 48).

       Judge Cathy L. Waldor, United States Magistrate Judge for the District of New

 Jersey, transferred to Judge Leon Plaintiffs’ nearly identical motion to compel

 subpoenaed data from NYCE Payments Network LLC (“NYCE”), a wholly owned

 subsidiary of FNIS. (Doc. 42-2). In transferring the motion, Judge Waldor concluded

 the “scale, duration, and complexity of the underlying cases” warranted transfer “so

 as to not disrupt [Judge Leon’s] management of the underlying action.” (Id. at p. 3).

 Judge Waldor also noted the “possible relevancy of NYCE’s data to class certification,”

 and reasoned “the issuing court is the most appropriate arbiter of this dispute.” Id.

 Plaintiffs’ motion to compel subpoenaed data from NYCE remains pending before

 Judge Leon.

       Plaintiffs now move to transfer their motions to compel subpoenaed data from

 Third-Party Defendants to the District of Columbia.          (Doc. 42).   Third-Party

 Defendants oppose the motion. (Doc. 45).



                                            2
Case 8:18-mc-00057-MSS-AAS Document 50 Filed 02/05/19 Page 3 of 7 PageID 2259



 II.   ANALYSIS

       Federal Rule of Civil Procedure 45 governs out-of-district subpoenas and was

 amended in 2013. “As amended, a subpoena must be issued by the court where the

 underlying action is pending, but challenges to the subpoena are to be heard by the

 district court ... where compliance with the subpoena is required.” Fed. R. Civ. P.

 45(c), (d)(2)(B)(i), and (d)(3)(A); Woods v. Southerncare, Inc., 303 F.R.D. 405, 406 (N.D.

 Ala., Nov. 4, 2014). Here, compliance is required in the Middle District of Florida.

       When compliance is disputed, however, Rule 45(f) allows the court to transfer

 a subpoena-related motion to the issuing court for adjudication if “the person subject

 to the subpoena consents or if the court finds exceptional circumstances.” Fed. R.

 Civ. P. 45(f). Although Rule 45(f) does not explain what qualifies as an exceptional

 circumstance, the Advisory Committee notes explain, in determining whether

 exceptional circumstances exist,

              the court’s prime concern should be avoiding burdens on
              local nonparties subject to subpoenas, and it should not be
              assumed that the issuing court is in a superior position to
              resolve subpoena-related motions. In some circumstances,
              however, transfer may be warranted in order to avoid
              disrupting the issuing court’s management of the
              underlying litigation, as when the court has already ruled
              on issues presented by the motion or the same issues are
              likely to rise in discovery in many districts. Transfer is
              appropriate only if such interests outweigh the interests of
              the nonparty served with the subpoena in obtaining local
              resolution of the motion.

 Fed. R. Civ. P. 45(f) advisory committee’s note (2013).

                                             3
Case 8:18-mc-00057-MSS-AAS Document 50 Filed 02/05/19 Page 4 of 7 PageID 2260



       A district court “should look to a variety of factors to determine if the judge

 from the issuing court is in a better position to rule on the motion due to her

 familiarity with the full scope of the issues involved as well as any implications the

 resolution of the motion will have on the underlying litigation.”          The Dispatch

 Printing Co. v. Zuckerman, No. 16-CV-800-37BLOOMVALLE, 2016 WL 335753, at

 *2 (S.D. Fla. Jan. 27, 2016) (citing In re UBS Financial Services, Inc. Securities

 Litigation, 2015 WL 4148857, at *1 (D.D.C. July 9, 2015)). “These factors include the

 complexity, procedural posture, duration of pendency, and the nature of the issues

 pending before, or already resolved by, the issuing court in the underlying litigation.”

 Id. (citing Judicial Watch, Inc. v. Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C. 2014)).

       Analysis of these factors militate in favor of transferring Plaintiffs’ motions to

 compel.   The duration and complexity of this action favor finding exceptional

 circumstances. The subpoenas at issue stem from multiple complex antitrust class

 actions pending before Judge Leon for over seven years in the District of Columbia.

 Judge Leon is best positioned to assess Plaintiffs’ need for the subpoenaed data. See

 In re K.M.A. Sunbelt Trading Co., 2017 WL 2559790 (M.D. Fla. 2017) (finding

 exceptional circumstances existed to transfer subpoena-related motion where the

 issuing court had “intimate knowledge of the underlying litigation, parties, facts, and

 prior rulings”).   The possible relevance of Third-Party Defendants’ data to class

 certification further suggests Judge Leon is the most appropriate arbiter of this

 dispute. Victim Services, Inc. v. Consumer Financial Protection Bureau, 298 F. Supp.
                                             4
Case 8:18-mc-00057-MSS-AAS Document 50 Filed 02/05/19 Page 5 of 7 PageID 2261



 3d 26 (D.D.C. 2018) (finding the resolution of the subpoena-related motion could

 substantially interfere with the issuing court’s management of the underlying class

 action and potential interference outweighs any potential burden on the on the non-

 party).

       There is also a risk that “the same issues” raised by the subpoena “are likely

 to arise in discovery in many districts.” See Fed. R. Civ. P. 45(f) advisory committee’s

 note (2013). Indeed, a nearly identical motion to compel was filed in the District of

 New Jersey and transferred to the District of Columbia. (See Doc. 42-2); See Edwards

 v. Maxwell, No. 15-CV-074-33RWS, 2016 WL 7413505, at *2 (S.D. Fla. Dec. 22, 2016)

 (finding when presented with nearly identical subpoenas, the burden to reconcile

 inconsistent orders in two jurisdictions is outweighed by streamlining discovery with

 consistent decisions in one jurisdiction). Thus, the interests of judicial economy and

 efficiency support transfer.

       The court recognizes litigating this matter in another district will impose some

 burden.1   However, compliance with the subpoenas will likely involve electronic

 production and the burden of travel, if necessary, is slight. 2 See Judicial Watch, 307


 1 The Advisory Committee notes encourage the court to permit telephonic
 participation after transfer to minimize travel costs to non-parties in these situations.
 See Fed. R. Civ. P. 45(f) advisory committee’s note (2013); see also Moon Mountain
 Farms, LLC v. Rural Community Insurance Company, 301 F.R.D. 426, 430 (N.D. Cal.,
 July 10, 2014).

 2As stated by Judge Waldor, “because of NYCE’s size and access to resources,” the
 burden on NYCE of litigating in Washington D.C. does not “outweigh[] the
                                        5
Case 8:18-mc-00057-MSS-AAS Document 50 Filed 02/05/19 Page 6 of 7 PageID 2262



 F.R.D. at 34 (holding the burden on the subpoenaed party is minimal where electronic

 production is allowed). In addition, counsel for FNIS and AFFN will be appearing in

 the District of Columbia on NYCE’s motion to compel, and proceedings as to FNIS

 and AFFN could be consolidated.

        The exceptional circumstances here—the risk of inconsistent discovery rulings,

 the duration and complexity of the case, and the interests of judicial economy and

 efficiency—outweigh the interests Third-Party Defendants have in litigating

 Plaintiffs’ motions to compel locally.

 III.   CONCLUSION

        For these reasons, is it ORDERED:

        1.    Plaintiffs’ Motion to Transfer (Doc. 42) is GRANTED. The Clerk is

 directed to transfer Plaintiffs’ Motions to Compel (Docs. 1, 41) to the United States

 District Court for the District of Columbia and close this case.

        2.    Plaintiffs’ Motion for Leave to File Reply in Support of Plaintiffs’ Motion

 to Transfer (Doc. 47) is DENIED AS MOOT.

        3.    Third-Party Defendants’ Motion for Oral Argument on Plaintiff’s Motion

 to Transfer (Doc. 46) is DENIED AS MOOT.




 countervailing factors that favor transfer.” (Doc. 42-2, p. 3). Because NYCE is a
 wholly owned subsidiary of FNIS, the same reasoning applies to FNIS.
                                          6
Case 8:18-mc-00057-MSS-AAS Document 50 Filed 02/05/19 Page 7 of 7 PageID 2263



      ORDERED in Tampa, Florida on February 5, 2019.




                                     7
